                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

         Montega L Everett,           )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               3:19-cv-00246-GCM
                                      )
                 vs.                  )
                                      )
         Nancy A. Berryhill,          )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 9, 2020 Order.

                                               November 9, 2020




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